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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       :
                                               :       Case No. 1:22-cr-31-FYP
         v.                                    :
                                               :
BILLY KNUTSON,                                 :
                                               :
                 Defendant.                    :

                     GOVERNMENT’S SENTENCING MEMORANDUM

         The United States of America, by and through the United States Attorney for the District

of Columbia, respectfully submits this sentencing memorandum in support of its request that the

Court sentence Billy Knutson to six months of incarceration, one year of supervised release, 60

hours of community service, and $500 in restitution.

    I.        Introduction

         Billy Knutson, a violent felon who continues to glorify violence and civil war, participated

in the January 6, 2021 attack on the United States Capitol—a violent attack that stopped the

certification of the 2020 Electoral College vote count, injured more than one hundred police

officers, and resulted in more than 2.7 million dollars in losses. 1

         On April 13, 2022, Knutson pleaded guilty to one count of entering and remaining in a

restricted building or grounds, in violation of 18 U.S.C. § 1752(a)(1). As explained below, a

sentence of six months of imprisonment (within the lower half of the Sentencing Guidelines Range

identified in the PSR) followed by one year of supervised release is appropriate in this case because

the defendant, despite previously being sentenced to prison for five years for felony assault and


1
 As of April 5, 2022, the approximate losses suffered as a result of the siege at the United States
Capitol was $2,734,783.15. That amount reflects, among other things, damage to the United States
Capitol building and grounds and certain costs borne by the United States Capitol Police.


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intimidation with a dangerous weapon, publicly promoted violence and civil war before and after

he entered the Capitol Building through a broken window and encouraged resistance against police

as part of a riot aimed at overturning a Presidential election.

         The defendant’s conduct on January 6, like the conduct of hundreds of other defendants,

took place in the context of a large and violent riot that used its size to overwhelm police, breach

the Capitol, and derail the proceedings. Each rioter’s participation was an integral part of the effort

to cancel the election certification, and Knutson’s actions, in concert with those of so many others,

caused the riot to succeed temporarily in that effort. See United States v. Matthew Mazzocco, 1:21-

cr-00054 (TSC), Tr. 10/4/2021 at 25 (“A mob isn’t a mob without the numbers. The people who

were committing those violent acts did so because they had the safety of numbers.”) (statement of

Judge Chutkan).      Knutson’s participation in a riot that actually succeeded in halting the

Congressional election-certification, combined with his violent criminal history, his celebration

and endorsement of the violence on January 6, and his public condoning of future violence—

including gun violence—renders a significant jail sentence both necessary and appropriate in this

case.

   II.      Factual and Procedural Background

         As an initial matter, the government refers the Court to the general summary of the attack

on the U.S. Capitol. See ECF 24 (Statement of Offense), at 1-3. As stated above, that riot could

not have occurred without rioters, and each rioter’s actions—from the most mundane to the most

violent—contributed to the violence and destruction of that day. But Billy Knutson was not merely

a face in the crowd on January 6.

         Knutson’s conduct related to the Capitol riot neither began nor ended on January 6. See

ECF 24 at ¶¶ 9-10. First, he published a video in December 2020 in which he states, “I’m locked



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and loaded ready for a civil war . . . . We Proud Boys ready for a civil war; 70 million armed

civilians y’all don’t really wanna brawl.” Id. at ¶ 10. 2

       On January 6, 2021, Knutson climbed through a broken window next to the Capitol’s

Senate Wing Doors around 3:32 p.m. The following images show him climbing through the

broken window to enter the Capitol and then turning around apparently to offer a hand to help

another rioter climb through the window:




The source video for the images above is Exhibit 1 to this memorandum.

       The following image shows Knutson (circled in red) moments after he climbed through the

broken window:


2
  Knutson published that video to his YouTube channel, “Playboy The Beast – Official,” on
December 13, 2020. As of July 18, 2022, that channel had more than 17,000 subscribers, and the
video had more than 251,580 views.
                                                  3
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       Closed-circuit video footage shows him spending several minutes inside the Capitol

building. At times, he used a mobile phone apparently to record and/or livestream video, and/or

to take photographs inside the Capitol. He then exited the Capitol through the Senate Wing Doors.

Id. at ¶ 8. While outside on Capitol grounds, Knutson was more animated. During one video that

he recorded of himself, he shouts, “Police out there fuckin’ with somebody! Go! Go! Go!,” and

then joins in a “Stop the steal!” chant with other rioters. See Exhibit 2. The following image is

from that video:




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       Although the defendant did not, to the government’s knowledge, commit any acts of

violence at the Capitol, he later used his popular online platform, in connection with his

participation in the January 6 riot, to promote not just violence but mortal combat in support of his

perverse brand of “patriot[ism].” ECF 24 at ¶ 9. Specifically, the defendant published a music
                                                 5
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video in April 2021 in which he makes several comments about the events of January 6, 2021 at

the Capitol, including the following:

               •   “The media’s been trying to demonize us about the events of January 6th,

                   spreading fake news and propaganda as they always have.”

               •   “We never gon’ surrender; these patriots on a mission.”

               •   “We don’t wanna go to war but we gotta stand strong; we ain’t never backin’

                   down.” (This refrain is repeated many times.)

               •   “Fuck ‘em all, fuck ‘em all; it’s a lost cause now. Line ‘em up like dominos

                   and watch ‘em all fall down.” (This refrain is repeated several times.)

               •   “If you’re not gonna fight for us then we have no choice but to band together

                   and fight for ourselves.” (This was followed immediately by footage of rioters

                   throwing objects (including a metal folding chair) at a police line at the Capitol

                   on January 6, 2021).

               •   “We may have lost the battle but this fight is far from over. Give me freedom

                   or give me death.” (He makes throat-slitting motion as he says the second

                   sentence).

               •   “Said I’m ready for a war and what I said I really meant it.”

               •   “If the price of freedom’s blood then I’m down to pay the fee.”

               •   “You try to take away our rights we gonna greet you with guns.” (As animated

                   bullets rain down on the screen).

Id. As of July 18, 2220, this video had more than 91,780 views.

       The following image is a screenshot of the “greet you with guns” line referenced above:




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                                The Charges and Plea Agreement

       On January 10, 2022, Knutson was charged by complaint with violating 18 U.S.C.

§§ 1752(a)(1) & (2) and 40 U.S.C. §§ 5104(e)(2)(D) & (G). Two days later, he was arrested at his

home in South Dakota. He agreed to be interviewed by FBI agents at the time of his arrest. During

the interview, he identified himself in images recorded at the Capitol on January 6, 2021, and said

he had been expecting a visit from law enforcement officers regarding the events of that day. He

further stated that although he was not affiliated with the Proud Boys at the time of the riot, he

became affiliated with that group a few weeks later, and that he moved to Mitchell, South Dakota

(from North Carolina in late 2021) because the group’s state headquarters was located there.

       On January 24, 2022, he was charged by Information with the same offenses charged in

the complaint and, on April 13, 2022, pleaded guilty to Count One of a Superseding Information

charging him with entering and remaining in a restricted building or grounds, in violation of

18 U.S.C. § 1752(a)(1). In his plea agreement, Knutson agreed to pay $500 in restitution to the

Architect of the Capitol.

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   III.      Statutory Penalties

          Knutson is subject to a sentence of imprisonment of up to one year.             18 U.S.C.

§§ 1752(a)(1) & (b)(2). The Court also may impose a fine up to $100,000, pursuant to 18 U.S.C.

§ 3571(b)(5), and a term of supervised release of not more than one year, pursuant to 18 U.S.C.

§ 3583(b)(3). The defendant must also pay restitution under the terms of his plea agreement. See

18 U.S.C. § 3663(a)(3); United States v. Anderson, 545 F.3d 1072, 1078-79 (D.C. Cir. 2008).

   IV.       The Sentencing Guidelines and Guidelines Analysis

          As the Supreme Court has instructed, the Court “should begin all sentencing proceedings

by correctly calculating the applicable Guidelines range.” United States v. Gall, 552 U.S. 38, 49

(2007). “As a matter of administration and to secure nationwide consistency, the Guidelines

should be the starting point and the initial benchmark” for determining a defendant’s sentence. Id.

at 49. The United States Sentencing Guidelines (“U.S.S.G.” or “Guidelines”) are “the product of

careful study based on extensive empirical evidence derived from the review of thousands of

individual sentencing decisions” and are the “starting point and the initial benchmark” for

sentencing. Id. at 49.

          The government agrees with the Sentencing Guidelines calculation set forth in the PSR

(ECF No. 26). According to the PSR, the U.S. Probation Office calculated Knutson’s adjusted

offense level under the Sentencing Guidelines as follows:

                 U.S.S.G. § 2B2.3(a)                   Base Offense Level (trespass)         4
                 U.S.S.G. § 2B2.3(b)(1)(A)(vii)        Specific Offense Characteristics
                        (occurred at any restricted building or grounds)                    +2
                 Acceptance of Responsibility (USSG §3E1.1(a))                              -2

                 Total Adjusted Offense Level                                                4

PSR at ¶¶ 33-41.




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       The U.S. Probation Office calculated Knutson’s criminal history category as V, PSR at

¶ 66, and therefore determined his Guidelines imprisonment range to be 4-10 months. PSR at

¶ 112. Knutson’s plea agreement contains an explicitly non-binding “Estimated Guidelines

Range” of 2-8 months, which was based on an “Estimated Criminal History Category” of IV (for

“at least 7 criminal history points”). ECF No. 25 at 4. 3 The PSR correctly calculates Knutson’s

criminal history category as V (for 10 criminal history points). The plea agreement did not account

for a 2007 Criminal Mischief conviction that became a three-point conviction due to a 2008

probation revocation resulting in a sentence of two years of confinement. PSR at ¶ 53. The original

sentence was two years of confinement suspended to two years of probation, id., which would

have rendered the sentence outside the applicable time period set forth in U.S.S.G. § 4A1.2(e). 4

        A Guidelines sentence is appropriate in this case. “The Guidelines as written reflect the

fact that the Sentencing Commission examined tens of thousands of sentences and worked with

the help of many others in the law enforcement community over a long period of time in an effort

to fulfill [its] statutory mandate.” Rita v. United States, 551 U.S. 338, 349 (2007). As required by

Congress, the Commission has “‘modif[ied] and adjust[ed] past practice in the interests of greater

rationality, avoiding inconsistency, complying with congressional instructions, and the like.’”

Kimbrough v. United States, 552 U.S. 85, 96 (2007); 28 U.S.C. § 994(m). In so doing, the



3
  The plea agreement states that “the parties are free to argue for a Criminal History Category
different from that estimated” in the plea agreement. Id.
4
  Knutson was sentenced for this Criminal Mischief conviction on the same day he was sentenced
for committing Assault on Police Officer Resulting in Injury in a separate incident. For the Assault
on Police Officer conviction, Knutson also received a sentence of two years of confinement
suspended to two years of probation, which also was revoked in 2008, resulting in a sentence of
two years of confinement to run consecutively to the two years of confinement for the Criminal
Mischief conviction. Id. at ¶ 55. Although these two separate felony convictions arose from two
separate incidents, they are counted as a single sentence because the sentences were imposed on
the same day. U.S.S.G. § 4A1.2(a)(2)(B).
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Commission “has the capacity courts lack to ‘base its determinations on empirical data and

national experience, guided by professional staff with appropriate expertise,’” and “to formulate

and constantly refine national sentencing standards.” Kimbrough, 552 U.S. at 108. Accordingly,

courts must give “respectful consideration to the Guidelines.” Id. at 101. As the Third Circuit has

stressed:

                 The Sentencing Guidelines are based on the United States
                 Sentencing Commission’s in-depth research into prior sentences,
                 presentence investigations, probation and parole office statistics,
                 and other data. U.S.S.G. §1A1.1, intro, comment 3. More
                 importantly, the Guidelines reflect Congress’s determination of
                 potential punishments, as set forth in statutes, and Congress’s
                 on-going approval of Guidelines sentencing, through oversight of
                 the Guidelines revision process. See 28 U.S.C. § 994(p) (providing
                 for Congressional oversight of amendments to the Guidelines).
                 Because the Guidelines reflect the collected wisdom of various
                 institutions, they deserve careful consideration in each case.
                 Because they have been produced at Congress’s direction, they
                 cannot be ignored.

United States v. Goff, 501 F.3d 250, 257 (3d Cir. 2005). “[W]here judge and Commission both

determine that the Guidelines sentences is an appropriate sentence for the case at hand, that

sentence likely reflects the § 3553(a) factors (including its ‘not greater than necessary’

requirement),” and that significantly increases the likelihood that the sentence is a reasonable one.”

Rita, 551 U.S. at 347 (emphasis in original). In other words, “the Commission’s recommendation

of a sentencing range will ‘reflect a rough approximation of sentences that might achieve

§ 3553(a)’s objectives.’” Kimbrough, 552 U.S. at 89.

       Here, although the Court must balance all of the § 3553 factors to fashion a just and

appropriate sentence, the Guidelines unquestionably provide the most helpful benchmark. As this

Court knows, the government has charged a considerable number of people with crimes based on

the January 6 riot. This includes hundreds of felonies and misdemeanors that will be subject to



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Guidelines analysis. In order to reflect Congress’s will—the same Congress that was targeted by

this criminal incursion—the Guidelines will be a powerful driver of consistency and fairness

moving forward.

   V.      Sentencing Factors Under 18 U.S.C. § 3553(a)

        With the Guidelines as the starting point, sentencing also is guided by 18 U.S.C. § 3553(a),

which identifies the factors a court must consider in formulating a sentence. Some of those factors

include: the nature and circumstances of the offense, § 3553(a)(1); the history and characteristics

of the defendant, id.; the need for the sentence to reflect the seriousness of the offense and promote

respect for the law, § 3553(a)(2)(A); the need for the sentence to afford adequate deterrence,

§ 3553(a)(2)(B); and the need to avoid unwarranted sentence disparities among defendants with

similar records who have been found guilty of similar conduct. § 3553(a)(6). In this case, as

described below, the § 3553(a) factors weigh in favor of a sentence of incarceration within the

Guidelines range.

           A. The Nature and Circumstances of the Offense

        The attack on the United States Capitol on January 6, 2021 defies hyperbole. It was a

criminal offense unlike any other in American history, in that it was a direct assault not only on

our government, but on our system of government: it was an attack on democracy itself. Hostile

combatants breached and then stormed the halls and chambers of Congress with the sole purpose

of reversing, by force, a United States Presidential election. Using violence and intimidation, the

mob of rioters sought to override and invalidate the votes of millions of Americans. To put it

plainly, the events of January 6 may be distilled as follows: the rioters beat and injured police

officers, and destroyed doors and obliterated windows to infiltrate our seat of government, because

they wanted to force Congress to cancel the certification of the Presidential election and install the



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loser of that election as the winner. By its very nature, the attack eludes comparison to other

events.

          Although each defendant should be sentenced based on his individual conduct, this Court

should note that each person who entered the Capitol on January 6 without authorization did so

under the most extreme circumstances. There were no public tours being given on January 6.

Rather, there were numerous barriers and barricades designed to keep people out of the Capitol.

The roar of the mob and plumes of pepper spray filled the air. The Capitol grounds were littered

with rioters engaged in physical combat with police officers, in clashes often observed or incited

by those rioters who did not directly engage in such violence. No rioter was a mere tourist that

day, and no rioter could have entered the Capitol without observing this mayhem.

          Additionally, the Court should assess the defendant’s individual conduct on a spectrum. In

determining a fair and just sentence on this spectrum, the Court should consider a number of

critical factors, including: (1) whether, when, and how the defendant entered the Capitol building;

(2) whether the defendant encouraged violence; (3) whether the defendant encouraged property

destruction; (4) the defendant’s reaction to acts of violence or destruction; (5) whether during or

after the riot, the defendant destroyed evidence; (6) the length of the defendant’s time inside the

building, and exactly where the defendant traveled; (7) the defendant’s statements in person or on

social media; (8) whether the defendant cooperated with, or ignored commands from law

enforcement officials; and (9) whether the defendant demonstrated sincere remorse or contrition.

Although these factors are neither exhaustive nor dispositive, they help to place each defendant on

a spectrum as to his fair and just punishment.

          At the onset, had the defendant personally engaged in violence or destruction, he would be

facing additional charges and/or penalties associated with that conduct. The absence of violent or



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destructive acts on the part of the defendant therefore is not a mitigating factor in misdemeanor

cases, nor does it distinguish the defendant from most other misdemeanor defendants. The

defendant’s lack of violence and property destruction is the only reason he was charged only with,

and permitted to plead guilty to, a misdemeanor rather than felony.

       And although the defendant did not personally engage in violence, he encouraged it. In

December 2020, shortly before the events of January 6, he proclaimed to his online audience that

“I’m locked and loaded ready for a civil war.” During the riot on January 6, he shouted, “Police

out there fuckin’ with somebody! Go! Go! Go!,” apparently urging other rioters to go to the aid

of those directly embroiled in conflict with police. Then, in his April 2021 video, he glorified the

violence of January 6, stating, “we have no choice but to band together and fight for ourselves,”

then cutting to footage of rioters throwing objects (including a metal folding chair) at a police line

at the Capitol. He follows that expression by celebrating future political violence, stating that “[i]f

the price of freedom’s blood then I’m down to pay the fee,” and “[y]ou try to take away our rights

we gonna greet you with guns” while pantomiming a pistol in each hand as animated bullets rain

down on the screen.

       Knutson’s April 2021 video belies any semblance of remorse for his actions on January 6.

To the contrary, his statements make clear that he was proud of his participation in the riot. Indeed,

the following statement demonstrates his belief that he and the other rioters did nothing wrong:

“The media’s been trying to demonize us about the events of January 6th, spreading fake news and

propaganda as they always have.” Accordingly, the nature and the circumstances of this offense

establish the clear need for a significant sentence of incarceration in this matter.




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             B. The History and Characteristics of the Defendant

         Knutson has a long history of violence and other criminal misconduct. At age 18, he used

a knife to assault a victim. PSR at ¶ 47. Five months later, he directed abusive epithets and hand

gestures at others while displaying a knife. Id. at ¶ 49. Two weeks after that, while intoxicated,

he resisted arrest, kicked out the window of a police car, and spat on a police officer. Id. at ¶ 50.

His five-year prison sentence in 2004 for assaulting three people with a BB gun (hitting one of

them in the head with it), PSR at ¶ 51, did not deter him from two future felonies including

“repeatedly kick[ing] three uniformed police officers” and multiple misdemeanors, including

“thr[owing] a glass liquor bottle and display[ing] a baseball bat at a female victim.” PSR at ¶¶ 55

and 60. Unlike many January 6 defendants who had no prior criminal record, Knutson has

demonstrated over many years a penchant for violence and an unwillingness to comply with the

law. And, as discussed above, Knutson has a recent history of celebrating violence, firearms, and

civil war in connection with the events of January 6.

         And it gets worse. In a January 2022 video (titled “MAGA Warfare . . . ”) published to his

thousands of YouTube subscribers 5 (and available to anyone with an internet connection), Knutson

is depicted standing in front of fellow Proud Boys who appear to be brandishing firearms:




5
    More than 17,000 as of July 18, 2022.
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As of July 18, 2022, the video had more than 56,300 views.

       Next, in a video published in February 2022—that is, after his arrest in this case— Knutson

states, “I’ll be ridin’ with that 45—Trump and the handgun” while pantomiming firing a handgun.

This is followed immediately by a flash from his hand and then bullet holes on the screen (while

a small child appears in his arm):




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       Later in the same video, while referring to “any communist claimin’ they antifascist while

doin’ fascist shit,” he says, “I use your face for target practice.” Thus, more than a year since the

events of January 6, 2021, and in a time when ideologically motivated gun violence is all too

common, Knutson continues to promote and celebrate gun violence to further political goals. This

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Court should impose a sentence of imprisonment that reflects Knutson’s violent history and

characteristics. His previous sentences have not dissuaded him from using violent rhetoric related

to the events and goals of January 6, 2021, in the videos that he continues to broadcast to his 17,300

subscribers.

            C. The Need for the Sentence Imposed to Reflect the Seriousness of the Offense
               and Promote Respect for the Law

         The attack on the U.S. Capitol building and grounds was an attack on the rule of law. “The

violence and destruction of property at the U.S. Capitol on January 6 showed a blatant and

appalling disregard for our institutions of government and the orderly administration of the

democratic process.” 6 As with the nature and circumstances of the offense, this factor supports a

sentence of incarceration, as it will in most cases, including misdemeanor cases, arising out of the

January 6 riot. See United States v. Joshua Bustle and Jessica Bustle, 21-cr-238-TFH, Tr. 08/24/21

at 3 (“As to probation, I don't think anyone should start off in these cases with any presumption of

probation. I think the presumption should be that these offenses were an attack on our democracy

and that jail time is usually -- should be expected”) (statement of Judge Hogan).

            D. The Need for the Sentence to Afford Adequate Deterrence

         Deterrence encompasses two goals:       general deterrence, or the need to deter crime

generally, and specific deterrence, or the need to protect the public from further crimes by this

defendant. 18 U.S.C. § 3553(a)(2)(B-C); United States v. Russell, 600 F.3d 631, 637 (D.C. Cir.

2010).




6
 Federal Bureau of Investigation Director Christopher Wray, Statement before the House
Oversight      and      Reform      Committee       (June     15,     2021),   available            at
https://oversight.house.gov/sites/democrats.oversight.house.gov/files/Wray%20
Testimony.pdf
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       General Deterrence

        The demands of general deterrence weigh in favor of incarceration, as they will for nearly

every case arising out of the violent riot at the Capitol. Indeed, general deterrence may be the most

compelling reason to impose a sentence of incarceration. The violence at the Capitol on January

6 was cultivated to interfere, and did interfere, with one of the most important democratic processes

we have: the peaceful transfer of power to a newly elected President. As noted by Judge Moss

during sentencing in United States v. Paul Hodgkins, 21-cr-188-RDM:

       [D]emocracy requires the cooperation of the governed. When a mob is prepared to
       attack the Capitol to prevent our elected officials from both parties from performing
       their constitutional and statutory duty, democracy is in trouble. The damage that
       [the defendant] and others caused that day goes way beyond the several-hour delay
       in the certification. It is a damage that will persist in this country for decades.

Tr. at 69-70. Indeed, the attack on the Capitol means “that it will be harder today than it was seven

months ago for the United States and our diplomats to convince other nations to pursue democracy.

It means that it will be harder for all of us to convince our children and our grandchildren that

democracy stands as the immutable foundation of this nation.” Id. at 70; see United States v.

Thomas Gallagher, 1:21-CR-00041 Tr. 10/13/2021 at 37 (“As other judges on this court have

recognized, democracy requires the cooperation of the citizenry. Protesting in the Capitol, in a

manner that delays the certification of the election, throws our entire system of government into

disarray, and it undermines the stability of our society. Future would-be rioters must be

deterred.”) (statement of Judge Nichols at sentencing).

       The gravity of these offenses demands deterrence. This was not a protest. See United

States v. Paul Hodgkins, 21-cr-188-RDM, Tr. at 46 (“I don’t think that any plausible argument can

be made defending what happened in the Capitol on January 6th as the exercise of First

Amendment rights.”) (statement of Judge Moss). And it is important to convey to future potential



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rioters—especially those who hope to subvert the democratic process by force—that their actions

will have significant consequences. There may be no greater factor that this Court must consider.

        Specific Deterrence

        Knutson’s continued, widespread dissemination of violent rhetoric demonstrates the need

for specific deterrence in this case. Knutson celebrated the violence of January 6 by publishing

his April 2021 video, which was replete with video footage of the riot, and which extolled the

virtues of violence and war as methods of resolving political disputes (e.g., “Said I’m ready for a

war and what I said I really meant it”; “If the price of freedom’s blood then I’m down to pay the

fee”; “You try to take away our rights we gonna greet you with guns.”). Most alarmingly, he

continued to celebrate and glorify gun violence in February 2022 while he was on pretrial release

for this offense.

            E. The Need to Avoid Unwarranted Sentencing Disparities

        As the Court is aware, the government has charged hundreds of individuals for their roles

in this one-of-a-kind assault on the Capitol, ranging from unlawful-entry misdemeanors, such as

in this case, to assault on law enforcement officers, to conspiracy to interfere corruptly with

Congress. 7 Each offender must be sentenced based on his individual circumstances, but with the

backdrop of the entire January 6 riot in mind. Moreover, each offender’s case exists on a spectrum

ranging from conduct meriting only a probationary sentence to violent or otherwise egregious

crimes warranting years of imprisonment.       Misdemeanor cases without aggravating factors

generally fall toward the lower end of that spectrum, but misdemeanor breaches of the Capitol on

January 6, 2021 were not minor crimes. And where aggravating factors exist, a sentence of


7
  Attached to this sentencing memorandum is a table providing additional information about the
sentences imposed on other Capitol riot defendants. That table also shows that the sentence
requested here would not result in unwarranted sentencing disparities.

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imprisonment is justified, even in a misdemeanor case and especially in a misdemeanor case in

which the defendant’s Guidelines range is 4-10 months of imprisonment.

       Although “the Guidelines should be the starting point and the initial benchmark” for

determining Knutson’s sentence, United States v. Gall, 552 U.S. 38, 49 (2007), there are

distinctions among Capitol riot defendants—such as how a defendant entered the Capitol, how

long he remained inside, the nature of any statements he made (on social media or otherwise),

whether he destroyed evidence of his participation in the breach, etc.—that guide courts in

imposing sentences “to avoid unwarranted sentence disparities among defendants with similar

records who have been found guilty of similar conduct,” as required by § 3553(a)(6). Of course,

“[t]he best way to curtail ‘unwarranted’ disparities is to follow the Guidelines, which are designed

to treat similar offenses and offenders similarly.” United States v. Bartlett, 567 F.3d 901, 908 (7th

Cir. 2009) (further observing that “[a] sentence within a Guideline range ‘necessarily’ complies

with § 3553(a)(6).”).

       Even with the Guidelines as a backdrop, sentencing courts are permitted to consider

sentences imposed on co-defendants in assessing disparity. See, e.g., United States v. Knight, 824

F.3d 1105, 1111 (D.C. Cir. 2016); United States v. Mejia, 597 F.3d 1329, 1343-44 (D.C. Cir.

2010); United States v. Bras, 483 F.3d 103, 114 (D.C. Cir. 2007). The Capitol breach was sui

generis: a mass crime with significant distinguishing features, including the historic assault on the

seat of the legislative branch of the federal government, the vast size of the mob, the goal of

preventing the peaceful transfer of Presidential power, the use of violence by a substantial number

of rioters against law enforcement officials, and the large number of victims. Although many of

the defendants were not charged as conspirators or as codefendants, the sentences handed down




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for Capitol breach offenses is an appropriate group for purposes of measuring disparity of any

future sentence.

       Although each defendant’s history and characteristics are different, and no previously

sentenced case contains the same balance of aggravating and mitigating factors present here, the

Court is free consider the sentences imposed in cases where similar factors exist. For example, in

United States v. Kelly O’Brien, 21-cr-633 (RCL), the defendant pleaded guilty to the same charge

as Knutson, her Guidelines range of imprisonment was 2-8 months, and the Court imposed a

sentence of 90 days of imprisonment. 8 There, the defendant promoted violence in social-media

posts in December 2020, calling for “patriots” to “rise up” and warning that “[v]iolence can and

will break out” on January 6. Then, on January 10, 2021, she posted, “GOD BLESS THE

PATRIOTS . . . . You have earned upmost respect and loyalty. Thank you Patriots.” Her posts

are benign compared to Knutson’s explicitly bellicose lyrics and computer-generated bullets and

bullet holes. But, in contrast, she spent more time than Knutson inside the Capitol and was more

unruly than he was while there, and she scrubbed her social-media account of inculpatory evidence.

She did not have a prior violent felony conviction, however, and Knutson has multiple prior felony

convictions that involved violence.

       Another example is the case of United States v. Karl Dresch, 21-cr-71 (ABJ). There, the

defendant pleaded guilty to violating 40 U.S.C. § 5104(e)(2)(G), a Class B misdemeanor to which

the Guidelines do not apply. The Court imposed a sentenced of time served, where the defendant

had served six months in pretrial detention (six months was the maximum term of imprisonment

under the statute of conviction). Similar to Knutson, Dresch published statements encouraging




8
 O’Brien’s total adjusted offense level was six (which included a two-level enhancement for
obstruction of justice), and she was in criminal history category III.
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civil war, albeit more obliquely than Knutson’s lyrics, posting on Facebook, “NO EXCUSES! NO

RETREAT! NO SURRENDER! TAKE THE STREETS! TAKE BACK OUR COUNTRY!

1/6/2021=7/4/1776.” Like Knutson, Dresch was not particularly boisterous inside the Capitol, and

was not inside for very long. Like Knutson, Dresch had a significant criminal history: although

he did not have a violent felony conviction like Knutson does, he had a 2013 felony conviction for

fleeing and eluding arrest after engaging in a high-speed car chase, a 2011 conviction for

obstructing an officer, and a 2008 conviction for disturbing the peace. Unlike Knutson, Dresch

was found in possession of four firearms and 100 rounds of ammunition, despite being a felon.

       As these examples show, there are infinite combinations of aggravating and mitigating

sentencing factors among Capitol Riot defendants—especially because “[n]o limitation shall be

placed on the information concerning the background, character, and conduct of a person convicted

of an offense which a court of the United States may receive and consider for the purpose of

imposing an appropriate sentence.” 18 U.S.C. § 3661. Imposing similar, within-Guidelines

sentences for similarly situated defendants who share at least one such factor (e.g., promoting

ideologically motivated violence, or having a significant criminal history) reduces the risk of

unwarranted sentencing disparities.

       In any event, the goal of minimizing unwarranted sentencing disparities in § 3553(a)(6) is

“only one of several factors that must be weighted and balanced,” and the degree of weight is

“firmly committed to the discretion of the sentencing judge.” United States v. Coppola, 671 F.3d

220, 254 (2d Cir. 2012). The § 3553(a) factors that this Court assesses are “open-ended,” with the

result that “different district courts may have distinct sentencing philosophies and may emphasize

and weigh the individual § 3553(a) factors differently; and every sentencing decision involves its

own set of facts and circumstances regarding the offense and the offender.” United States v.



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Gardellini, 545 F.3d 108 9, 1093 (D.C. Cir. 2008). “[D]ifferent district courts can and will

sentence differently—differently from the Sentencing Guidelines range, differently from the

sentence an appellate court might have imposed, and differently from how other district courts

might have sentenced that defendant.” Id. at 1095.

    VI.      Conclusion

          Knutson’s Guidelines range is 4-10 months of imprisonment. An analysis of the § 3553(a)

factors calls for a prison sentence longer than the bottom of that range. Specifically, Knutson’s

glorification of gun violence in both the post-riot and post-arrest videos he published to his

thousands of fans evinces a particular need to protect the public, promote respect for the law, and

deter future crime. In light of the numerous acts of violence committed by rioters on January 6,

Knutson’s continued promotion of violence to resolve political disagreements demonstrates a lack

of remorse for participating in that riot and a failure to appreciate the gravity of the harm it caused.

Accordingly, the government recommends that this Court sentence Billy Knutson to six months

of incarceration, within the lower half of the Sentencing Guidelines Range identified in the PSR,

one year of supervised release, 60 hours of community service, and $500 in restitution.




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                            Respectfully submitted,

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